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UNITED STATES DISTRICT COURT J
NORTHERN DISTRICT OF ILLINOIS

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C 1.23-01-004441 ) USA v. Smith

[az 1:23-cr-00441 y

v Magistrate Judge Sunil R. Harjani

Case # Name

1:22-cv-02540 Morris, li v. United States Postal Servi...

(az 1:18-cv-00387 az] Gregory v. Randy Pfister

v Magistrate Judge Keri L. Holleb Hotaling

| 4: 1-cv-90416 |

Peterson v. Health Sources, Inc.

Salerno v. W.A. Imports, Inc

(23 :23-cv-02263 aa |

1:23-cv-06049 aa]

wv Judge Lindsay C. Jenkins

USA v. Hernandez

USA v. Smith

“Kay v. BMV IV IL Fox Valley Villages, LL...

Time Type
01:30PM Detention »Hesring
02:00PM

Detention Hearing

02:00PM Telephone Conference

Courtroom 1858(SRH) 2

Time Type
09:30AM Settlement Conference
02:00PM Settlement Conference

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11:00AM = Settlement Conference
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Judge Virginia M. Kendall

Case # Name
[ 1:23-cy-14963 | Balazs Solti v. The Partnerships and Uni...

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Preliminary Revocation He...
